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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)
  OBERMAYER REBMANN MAXWELL & HIPPEL LLP
  Edmond M. George, Esquire
  Michael D. Vagnoni, Esquire
  (pro hac vice pending)
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  Proposed Counsel to the Debtor
  and Debtor in Possession

  In re:                                                    Chapter 11

  ALUMINUM SHAPES, L.L.C.,                                  Case No. 21- _______ - (   )

                                 Debtor.




                       ORDER AUTHORIZING RETENTION OF
                 COWEN AND COMPANY, LLC AS INVESTMENT BANKER

         The relief set forth on the following pages is hereby ORDERED.




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         Upon the applicant, Aluminum Shapes, L.L.C.’s (the “Applicant” or “Debtor”), request

for authorization to retain Cowen and Company, LLC (“Cowen”) as Investment Banker, it is

hereby ORDERED:

         1.       The Applicant is authorized to retain the above party in the professional capacity
                  noted.
                  The professional’s address is:         Cowen and Company, LLC
                                                         599 Lexington Avenue, 20th Floor
                                                         New York, NY 10022
                                                         Attn: General Counsel

         2.       Compensation will be paid based on a monthly flat fee of $75,000.00, and
                  reimbursement for all actual out-of-pocket expenses incurred in connection
                  with this engagement, as approved by the Court upon application.
                  Additional fees will be payable upon the closing of a Financing, the
                  consummation of a Restructuring, and/or the consummation of any Sale, as
                  approved by the Court upon application.
         3.       If the professional requested a waiver as noted below, it is ☐ Granted
                  ☐ Denied.
                  ☐ Waiver, under D.N.J. LBR 2014-2(b), of the requirements of D.N.J. LBR
                  2016-1.

                  ☐ Waiver, under D.N.J. LBR 2014-3, of the requirements of D.N.J. LBR 2016-1
                  in a chapter 13 case. Payment to the professional may only be made after
                  satisfactory completion of services.

         4.       The effective date of the retention is the date the Application was filed with
                  the Court.




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